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                              UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                             LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                      *       CRIM. NO. 06-60074-08

 VERSUS                                        *       JUDGE DOHERTY

 SABRINA L. VALDEZ                             *       MAGISTRATE JUDGE HILL

                            DETENTION ORDER PENDING TRIAL

         A detention hearing was held on February 15, 2007, in accordance with 18 U.S.C.

 3142(f). I conclude that the following facts require detention of the defendant pending trial in this

 case.

                                       FINDINGS OF FACT

         The defendant is a serious danger to the community and a flight risk.

                           WRITTEN REASONS FOR DETENTION

         The defendant is charged with conspiracy to possess with the intent to distribute, cocaine,

 crack cocaine and marijuana. The defendant is currently being held in federal custody and is

 serving a term of imprisonment in the custody of the Bureau of Prisons. Since the defendant is in

 federal custody the defendant waived her right to a detention hearing at this time, and knowingly

 and intelligently signed a waiver to that effect. If the defendant wishes to have a hearing in the

 future, she may request one at that time.

                          DIRECTIONS REGARDING DETENTION

         The defendant is committed to the custody of the Attorney General or his designated

 representative for confinement in a corrections facility separate, to the extent practicable, from

 persons awaiting or serving sentences or being held in custody pending appeal. The defendant
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 shall be afforded a reasonable opportunity for private consultation with defense counsel. On

 order of a court of the United States or on request of an attorney for the Government, the person

 in charge of the correction facility shall deliver the defendant to the United States Marshal for the

 purpose of an appearance in connection with a court proceeding.

        Lafayette, Louisiana, February 15, 2007.
